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                        UNITEDSTATESDISTRICTCOURT
                        SOUTHERNDISTRICTOFGEORGIA
                             AUGUSTADIVISION


UNITEDSTATESOFAMERICA                  )
                                       )
                                       )            CR 1:rS-o77
                                       )
GEORGECARTER                           )




                ORDERON MOTION FORLEAVE OFABSENCE


        Henry Nelson Crane, III, having made applicationto the Court for a leaveof

absence,and it being evident from the applicationthat the provisionsof local Rule 83.9

havebeen compliedwith, and no objectionshavingbeenreceived;

        IT IS HEREBY ORDER-ED TIIAT Henry Nelson Crane, III be granted

leave of absencefor the following period: October 23, 2015 through October z7'

4o15.
              )+)
        15i5 z1- "day of September,zor5.




                                                     District Judge
